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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                   8:12CR311

      vs.                                                 AMENDED
                                                 ORDER ON SENTENCING SCHEDULE
COLE GUSTAFSON,

                    Defendant.

      Pursuant to the Local Rules of Practice (see NECrimR. 32.1(b)), and the
sentencing practices of this court more generally, and to set a schedule and a
procedure for sentencing before the sentencing judge,

      IT IS ORDERED that the following deadlines and procedures are set in this case:

1.    July 5, 2013: Counsel's respective versions of the offense(s) to the probation
      office;

2.    July 26, 2013: Financial information, restitution proposal and any chemical
      dependency/mental health evaluation to the probation office by counsel;

3.    August 9, 2013: Initial presentence report to counsel by the probation office.
      Defense counsel will insure that (a) the defendant has had an opportunity to read
      the initial PSR, or, if the defendant is not fluent in English, that an interpreter has
      read it to the defendant, and (b) the defendant has had an opportunity to voice
      any objections to defense counsel, before defense counsel submits objections to
      the initial PSR;

4.    August 19, 2013: Objections by counsel to the initial presentence report;

5.    August 29, 2013: Probation office's submission to the judge and counsel of
      initial or revised presentence report with changes, if any, responsive to counsels’
      objections, and, if needed, an addendum explaining the probation officer’s
      position regarding any objections to the presentence report previously submitted
      by counsel;

6.    October 7, 2013:
           (a) Any proposals to the probation office for community service,
           community confinement, intermittent confinement or home detention;

             (b) Motions to the court:
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                  (1) for departure under the guidelines (including, but not limited to,
                  motions by the government) ; and
                  (2) for deviation or variance from the guidelines as allowed by the
                  Supreme Court’s decision in United States v. Booker, 125 S. Ct.
                  738 (2005) or its progeny;

           (c) Counsel's filing and serving on all other parties and the probation
           officer a written statement of position respecting each of the unresolved
           objections to the presentence report, including the specific nature of each
           objection to the presentence report.

           (d) If evidence is to be offered in support of or in opposition to a motion
           under subparagraph (b) of this paragraph or in support of or in opposition
           to an objection under subparagraph (c) of this paragraph 6, it must be: by
           affidavit, letter, report or other document attached to the statement of
           position or by oral testimony at the sentencing hearing. If oral testimony
           is desired, a request must be made in the statement of position and the
           statement of position must reveal (1) the nature of the expected testimony,
           (2) the necessity for oral testimony, instead of documentary evidence,
           such as affidavits, (3) the identity of each proposed witness, and (4) the
           length of time anticipated for presentation of the direct examination of the
           witness or witnesses. If a request for oral or documentary evidence is
           made by one party but not by the adverse party, the adverse party within
           five working days thereafter may make a responsive request for oral or
           documentary evidence, setting out details in the same manner as required
           by this paragraph 6(d).

            (e) Motions for departure should be supported by a brief that explains
            why the departure from the guideline sentencing range is justified by
            normal guideline departure theory. Motions for deviation or variance
            from the guidelines as allowed under Booker or its progeny should be
            supported by a brief that explains why a sentence other than that called
            for under the guidelines is justified by a principle of law that is different in
            kind or degree from the normal principles of law applied under a strict
            application of the guidelines.

           (f) It is expected that any objection first raised in a party’s statement of
           position will be addressed at the judge’s discretion, and that no
           consideration will be given to any sentencing factor first raised after the
           filing of the written statement.

7.   October 14, 2013: Judge's notice to counsel of rulings, tentative findings,
     whether oral testimony is to be permitted, and how objections to tentative
     findings may be made; and
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8.    October 18, 2013 at 9:30 a.m.: Sentencing in Omaha, Courtroom #3.

       A probation officer must submit a sentencing recommendation to the sentencing
judge no later than seven days after the issuance of an order described in
subparagraph (7) or, if no order is issued, no later than 14 days after the date set in
subparagraph (6). The probation officer is directed to provide copies of any sentencing
recommendation to counsel for the government and counsel for the defendant at the
time the recommendation is submitted to the sentencing judge.

      The dates in paragraphs 3 and 4 of this order may be altered by written notice to
counsel and the judge by the probation office.

      DATED this 27th day of August, 2013.

                                        BY THE COURT:

                                        s/ Joseph F. Bataillon
                                        United States District Judge
